  Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 1 of 10 PageID #:1445




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

   CHRISTOPHER MANHART,
   individually and behalf of all others
   situated,
                                                      Case No. 24:cv8209
                Plaintiffs,
                                                      Honorable Mary M. Rowland
         v.

  NATIONAL STUDENTS FOR JUSTICE IN
  PALESTINE, et al.


                Defendants.


   DISSENTERS, JEWISH VOICE FOR PEACE, WESPAC FOUNDATION,
    AND INDIVIDUAL DEFENDANTS’ REPLY IN SUPPORT OF THEIR
     MOTION TO STRIKE ALLEGATIONS FROM SECOND AMENDED
                         COMPLAINT

      Defendants Dissenters, Jewish Voice for Peace, WESPAC Foundation, Jinan

Chehade, Superior Murphy, Rifqa Falaneh, and Simone Tucker by and through

their undersigned counsel, file this Reply in Support of their Motion to Strike:


                                  INTRODUCTION

      Plaintiff’s Second Amended Complaint alleges as fact Plaintiff’s opinions

about the history of Israel and Palestine, political theory, and geopolitics. Because

these allegations have no bearing on any alleged violations of tort law, Defendants

filed a Motion to Strike. See ECF. 77. Plaintiff’s opposition brief doubles down on




                                           1
  Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 2 of 10 PageID #:1446




irrelevant, sanctionable 1 factual assertions included to disparage and silence both

Defendants and undersigned counsel. For example, Plaintiff’s opposition brief

asserts that “all defendants have demanded that Israel not be allowed to remove

Hamas from power” ECF. 90 at 2, and that they “celebrate the murder and

kidnapping of Jews, Arabs, and foreigners” Id. at 4. The Plaintiff’s brief continues

its wildly inappropriate campaign against undersigned counsel and her employer

Id. Plaintiff also critiques one Defendant for filing “meritless federal litigation”

wholly unrelated to this matter against her former employer, Id. at 5, and furthers

the baseless claim that the Defendants support the massacre of Jews, Id. at 6.

Finally, despite the absence of any factual basis or related legal claims in Plaintiff’s

complaint, the opposition brief asserts a “nexus” between the Defendants, Hamas,

and Iran. Id. at 8. Plaintiff persists in introducing these false, inflammatory

allegations into this litigation—even though he himself admits that they are not

“actionable.” 2

        Plaintiff’s opposition brief is long on the same scandalous assertions that

doom the Second Amended Complaint, but short on legal argument. Not

surprisingly, Plaintiff cites no case law suggesting that personal attacks and

historical commentary have any bearing on torts allegedly committed in Illinois in

2024. Because Plaintiff’s allegations about geopolitical matters will serve only to



1 See Individual Defendants and Dissenters’ Motion for Sanctions, ECF. 76 at 1 ( . . .[T]he plain text

of the complaint attempts to frame Defendants’ advocacy as terrorism. With these acts, Plaintiff
violates the core purpose of Rule 11—to deter litigants from filing baseless claims in federal court for
improper purposes.”).
2 See Manhart Opposition to Motions to Dismiss, at 16 fn. 4, ECF. 69. (“Manhart’s claim isn’t that

Defendants’ support of Hamas is actionable. It’s the conduct that is targeted.”).

                                                   2
  Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 3 of 10 PageID #:1447




prolong and complicate this lawsuit, this Court should grant Defendants’ Motion to

Strike certain allegations from Plaintiff’s Complaint pursuant to Fed. R.Civ.P.12(f).

See Heller Fin., Inc. v. Midwhey Powder Co., 883 F.2d 1286, 1294 (7th Cir. 1989)

(Courts should grant a motion to strike requesting removal of unnecessary clutter

when doing so would expedite a case.)

      I.     Plaintiff’s Inflammatory Insults Do Not Belong in a Federal
             Complaint (¶¶2, 5, 13, 18, 26, 28, 37, 40, 43, 63, 72)

      Plaintiff asserts that he has free reign to insult and level inflammatory

accusations at the Defendants and their counsel because their pro-Palestinian

advocacy has not abated since the filing of this lawsuit. ECF. 90 at 3-6. Plaintiff also

conflates the Defendants’ argument that Plaintiff’s inflammatory allegations create

a risk of harm with a request to proceed in this matter anonymously. Id. at 4-5. No

Defendant has made such a request. And Defendants’ ongoing advocacy in support

of Palestine does not empower Plaintiff to hurl insulting and inflammatory

allegations at them (and their counsel). Id.

      Plaintiff has not cited even one case in support of his argument that he is free

to insult the Defendants because this litigation has not yet silenced them. Id. at 5.

That’s because none exists. In contrast, courts routinely strike allegations far less

insulting and inflammatory than those proffered by the Plaintiff here. See Claybon

v. SSC Westchester Operating Co. LLC, No. 20-CV-04507, 2021 WL 1222803, at *6

(N.D. Ill. Apr. 1, 2021) (striking irrelevant allegations that were included only to

“stir emotions”); Lynch v. Southampton Animal Shelter Found. Inc., 278 F.R.D. 55,

68 (E.D.N.Y. 2011) (striking irrelevant allegations used to demonstrate a propensity

                                           3
  Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 4 of 10 PageID #:1448




for misconduct involving non-parties); Marcus v. ABC Signature Studios, Inc., 279

F. Supp. 3d 1056, 1062 (C.D. Cal. 2017) (“Matters are “scandalous” if they “cast a

cruelly derogatory light on a party or other person.”); Jenkins v. City of Las Vegas,

333 F.R.D. 544, 549 (D.N.M. 2019) (striking allegations that degraded defendants’

moral character, contained repulsive language, and detracted from the dignity of

the court); Giuliani v. Polysciences, Inc., 275 F. Supp. 3d 564, 574 (E.D. Pa. 2017)

(striking allegations that “would do nothing more than prejudicially paint defendant

as a generally discriminatory and morally deficient employer.”).



      II.    Plaintiff’s Challenged Allegations Provide no Context Related
             to his Tort Claims and Unduly Prejudice the Defendants and
             Burden this Court (¶¶22-37, 53-55)

      Plaintiff next argues that his allegations regarding Hamas, Iran, and

geopolitical issues provide “context” for his state tort claims. See ECF. 90 at 6. Yet,

Plaintiff fails to explain how so. See ECF. 69 at ¶¶22-39, 53-55. Nor does Plaintiff

explain how his assertions about Hamas’ preferred propaganda strategy relate to

Defendants’ actions here.

      Further, Plaintiff’s cited authorities offer his position no support and only

bolster Defendants’ Motion. For example, Plaintiff relies on Brown v. ABM Indus.,

Inc., No. 15 C 6729, 2015 WL 7731946, at *6 (N.D. Ill. Dec. 1, 2015), for the

assertion that courts refuse to strike allegations that provide “context” to Plaintiff’s

complaint. But Brown does not save Plaintiff’s immaterial and inflammatory

allegations, which have no connection to his legal claims. In Brown, Plaintiffs filed



                                            4
  Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 5 of 10 PageID #:1449




a putative class action alleging violations of the Fair Labor Standards Act and

related state laws. While the court allowed allegations concerning the defendant’s

policies and practices, it struck allegations about “the minutiae of similar lawsuits”

as “unnecessary clutter.” 2015 WL 7731946, at *6. The allegations surviving in

Brown bore directly on the defendant’s conduct; Plaintiff’s allegations here, by

contrast, are a calculated effort to inflame by dragging in foreign governments and

third parties irrelevant to any claim. This unnecessary clutter serves only to over-

complicate this lawsuit and is designed to lead to a fishing expedition if the case

were allowed to proceed to discovery, as Plaintiff makes plain in his Response. See

ECF. 90 at p. 6, 8.

      Similarly, in Geary v. Maryville Acad., No. 12 C 1720, 2012 WL 2129228,

(N.D. Ill. June 12, 2012), Plaintiff alleged employment related violations of the

Americans with Disabilities Act and related laws. Defendant moved to strike a

factual finding by the Illinois Department of Employment Security (IDES)

concerning Plaintiff’s disability. The court refused, holding that the IDES finding

was tied to the “events surrounding [Plaintiff’s] termination.” Id. at *2. Defendants

cannot plausibly argue that the history of the Israeli state or the tactics of Hamas

or Iran compare. Geary is therefore no bar to Defendants’ Motion to Strike.

      Further, the allegations at issue in Brown and Geary could proceed without

imposing additional burdens on the parties or the Court—because these allegations

were legitimately interwoven with the operable facts of those cases and involved the

actions of the parties. Not so with the challenged allegations here—despite



                                           5
  Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 6 of 10 PageID #:1450




Plaintiff’s contradictory allegations to the contrary. Plaintiff first argues that the

challenged allegations “will not delay the litigation” or require the Court to resolve

“thorny geopolitical questions.” See ECF. 90 at 7. He then contradicts himself by

asserting a right to take discovery about the preferred propaganda strategies of

Hamas, Iran, and the Iranian Republican Guard Corp. See Id. at 7, 9 (Plaintiff

intends to explore through discovery and present at trial evidence regarding the

“ties between the Defendants and any foreign influence.”). Such discovery would

place an untenable burden on this Court and the Parties—and is entirely unrelated

to Plaintiff’s tort claims. Courts routinely grant Motions to Strike when allegations

create such a burdensome result. “Prejudice results when the [challenged

allegation] is so lengthy and complex that it places an undue burden on the

responding party.” VPHI, Inc. v. Nat'l Educ. Training Grp., Inc., No. 94 C 5559,

1995 WL 51405, at *3 (N.D. Ill. Jan. 20, 1995); J & J Sports Prods., Inc. v. Luhn,

Civ. No. 2:10-3229 JAM-CKD, 2011 WL 5040709, at *1 (E.D. Cal. Oct. 24, 2011)

(“[Courts may find prejudice] where a party may be required to engage in

burdensome discovery around frivolous matters.”).

      Plaintiff argues that Defendants could simply admit or deny the challenged

allegations, and therefore these allegations do not prejudice the Defendants. See

ECF. 90 at 8. Plaintiff is wrong. Defendant cannot simply admit or deny allegations

related to the history of Israel, Iran, and the origins of Hamas. See ECF. 69 at ¶¶

22-37. Nor can Defendants simply deny or admit allegations about whether Hamas

has won supporters “worldwide,” Id. at 27, the relative stability between Israel and



                                            6
  Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 7 of 10 PageID #:1451




Palestine prior to October 7, 2023, Id. at 29, or Hamas’ tactical decisions made on

and after October 7, 2023, Id. at 30-37.

       Here, the challenged allegations do not involve allegations of interactions

involving any party. Instead, they focus on the actions of foreign governments and

other groups not subject to this court’s jurisdiction. This is sufficient basis to strike

these allegations. See ECF. 77 at 8 (“[The challenged allegations] are removed from

the alleged tort violations that occurred on April 15, 2024, by hundreds of years and

thousands of miles. They drag this Court and the Parties into a geopolitical conflict

that has been raging for decades. Defendants could not answer these allegations,

nor could either party conduct discovery on them.”); Cumis Ins. Soc., Inc. v. Peters,

983 F. Supp. 787, 799 (N.D. Ill. 1997) (finding allegation is prejudicial because it

was unrelated to any cause of action and would confuse the issues related to

individual liability).

       Plaintiff’s reliance on United States v. Am. Bank of Oklahoma, No. 23-CV-

371-CDL, 2023 WL 6393177, at *2 (N.D. Okla. Oct. 2, 2023), is similarly misplaced.

There, the Court struck allegations relating to the Tulsa Race Massacre from a

complaint filed over 100 years after the Massacre, finding that they were neither

pertinent nor necessary to the parties’ resolution of the claims. Id. The same is true

here. Thousands of years of geopolitical history and Plaintiff’s opinions about

political theory are wholly unrelated to his tort claims. Id. (“The allegations

regarding the Tulsa Race Massacre, while historically and technically accurate, are




                                            7
  Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 8 of 10 PageID #:1452




clearly not essential or important to the determination of the plaintiff's specific

claims involving lending practices a century later.”)

      Plaintiff argues with no citation to the complaint, that he has asserted a

“nexus” and “a conspiracy” between the Defendants and Hamas and Iran and

therefore this Court should deny Defendants’ Motion. See ECF. 90 at 9. But

Plaintiff’s complaint alleges no such thing. Importantly, the Second Amended

Complaint does not assert claims related to any legal conspiracy between the

Defendants and Hamas or Iran. Id. at ¶¶94-146. Instead, Plaintiff asserts claims for

false imprisonment and attempts to assert a private cause of action related to

highway obstruction. Id. To the extent these causes of actions exist (something

Defendants firmly dispute), the challenged factual allegations about Hamas, Iran,

and geopolitical history are wholly immaterial and included solely to attack and

vilify Defendants. On this basis, Defendants’ Motion to Strike should prevail.

                                       CONCLUSION

      For the reasons stated above and in Defendants’ Motion to Strike, this Court

should therefore strike from Plaintiff’s complaint ¶¶2, 5, 22-37, 72, and the portions

of ¶¶13, 18, 40, 43, and 63 that reference Hamas.



Dated: April 28, 2025                   Respectfully Submitted:


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                                           8
Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 9 of 10 PageID #:1453




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                                      9
Case: 1:24-cv-08209 Document #: 100 Filed: 04/28/25 Page 10 of 10 PageID #:1454




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                                      10
